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                                                                                                         JS-6
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 20-10751-GW-GJSx                                           Date      September 30, 2021
 Title             James Shayler v. 1310 PCH LLC, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Terri A. Hourigan
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                        Anoush Hakimi                                        Jeffrey C. Bogert
 PROCEEDINGS:                TELEPHONIC HEARING ON PLAINTIFF'S MOTION FOR
                             ATTORNEYS' FEES AND COSTS [33]


Court hears oral argument. The Tentative circulated and attached hereto, is adopted as the Court’s Final
Ruling. Plaintiff’s motion for attorney’s fees and costs is GRANTED. The Court awards $9,851 ($7,896
in attorney’s fees and $1,955 in costs). Payment will be made to Plaintiff within two weeks from the
date of this order.




                                                                                                   :    20
                                                               Initials of Preparer   JG
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 James Shayler v. 1310 PCH LLC; Case No. 2:20-cv-10751-GW-(GJSx)
 Tentative Ruling on Plaintiff’s Motion for Attorney’s fees


 I.       Background
          Plaintiff James Shayler sued Defendant 1310 PCH LLC for violation of the Americans
 with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12101 et seq., and the California Unruh Civil
 Rights Act, Cal. Civ. Code § 51 et seq. (“Unruh Act”). See First Amended Complaint (“FAC”) ¶¶
 32-58, ECF No. 17. Shayler seeks: (1) injunctive relief, (2) damages under the Unruh Act, and (3)
 reasonable attorney fees and costs. Earlier on in this case, the Court found Plaintiff Shayler to be
 a “high-frequency litigant” under Cal. Civ. Proc. Code § 425.55(b)(1) and declined to exercise
 supplemental jurisdiction over the Unruh Act cause of action.1 See ECF No. 15. The Court
 subsequently granted Shayler’s unopposed2 motion for summary judgment where the Court
 declined to award statutory damages under the Unruh Act (given that it had already elected not to
 exercise supplemental jurisdiction over that cause of action) but granted an injunction under the
 ADA ordering Defendant to provide an accessible parking space and access aisle, an accessible
 route from the accessible parking space to the accessible building entrance, and proper signage
 directing individuals to the accessible entrance. See Ruling on Plaintiff’s Motion for Summary
 Judgment (“Ruling”) at 4-5, ECF No. 31.
          Before the Court is Shayler’s motion for attorney’s fees and costs. See generally Plaintiff’s
 Motion for Attorney’s fees and Costs (“Mot” or “Motion”), ECF No. 33. Defendant has submitted
 an Opposition (“Opp.”). See Defendant’s Opposition to Plaintiff’s Motion for Attorney’s fees and
 Costs, ECF No. 35. Plaintiff has submitted a Reply. See Plaintiff’s Reply in Support of Motion
 for Attorney’s fees and Costs, ECF No. 36.
 II.      Legal Standard
          Title III of the ADA permits an award of attorney’s fees to the prevailing party. See 42
 U.S.C. § 12205 (“[T]he court . . . , in its discretion, may allow the prevailing party . . . a reasonable

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             The Court also noted at that time that “these ADA access cases normally do not raise very many issues of
 fact or law and are usually resolved within a relatively short period of time.” See ECF No. 15.
           Inexplicably, after this Court ruled that it would not exercise supplemental jurisdiction over Shayler’s state
 Unruh Act cause of action, Plaintiff filed the FAC which retained the Unruh Act claim. See ECF No. 17.
          2
           Defendant did file a “Conditional Non-Opposition to Plaintiff’s Motion for Summary Judgment” (“MSJ
 Non-Opp.,” see ECF No. 28), wherein it indicated that it had previously agreed to resolve all barrier issues and that
 the motion for summary judgment was totally unnecessary. Id. at 2.



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 attorney’s fee, including litigation expenses, and costs”). An award is only possible after “a court-
 ordered change in the legal relationship between the plaintiff and the defendant.” Buckhannon Bd.
 & Care Home, Inc. v. W. Virginia Dept. of Health and Human Res., 532 U.S. 598, 604
 (2001) (quotation and alterations omitted).
        When calculating the amount of attorney fees to be awarded in an ADA litigation, the
 district court applies the lodestar method, multiplying the number of hours reasonably expended
 by a reasonable hourly rate. Vogel v. Harbor Plaza Center, LLC, 893 F.3d 1152, 1158-59 (9th
 Cir. 2018). As observed by the Ninth Circuit,
        We emphasize that the lodestar amount is calculated by multiplying “the number
        of hours reasonably expended on the litigation by a reasonable hourly rate.” Costa
        v. Comm’r of Soc. Sec. Admin., 690 F.3d 1132, 1135 (9th Cir. 2012) (per curiam)
        (alteration omitted) (emphases added) (quoting Hensley, 462 U.S. at 433). In
        calculating the lodestar, district courts “have a duty to ensure that claims for
        attorneys’ fees are reasonable,” Swedish Hosp. Corp. v. Shalala, 1 F.3d 1261, 1265,
        303 U.S. App. D.C. 94 (D.C. Cir. 1993) (emphasis added), and a district court does
        not discharge that duty simply by taking at face value the word of the prevailing
        party’s lawyer for the number of hours expended on the case, Gates v. Deukmejian,
        987 F.2d 1392, 1398-99 (9th Cir. 1993). Rather, a district court must “ensure that
        the winning attorneys have exercised ‘billing judgment.’” Case v. Unified Sch.
        Dist. No. 233, 157 F.3d 1243, 1250 (10th Cir. 1998). In a contested case, a district
        court ordinarily can rely on the losing party to aid the court in its duty by vigorously
        disputing any seemingly excessive fee requests.
 Id. at 1160.
        The reasonableness of an hourly rate is assessed by reference to the comparable legal
 services in the community generally. See Housing Works v. County of Los Angeles, No. CV 15-
 8982-GW-(RAOx), 2018 WL 11309909, at *4 (C.D. Cal. July 12, 2018). Once a lodestar is
 calculated, it may be adjusted by the court based on factors including: “(1) the time and labor
 required; (2) the novelty and difficulty of the questions involved; (3) the skill requisite to perform
 the legal service properly; (4) the preclusion of other employment by the attorney due to
 acceptance of the case; (5) the customary fee; (6) whether the fee is fixed or contingent; (7) time
 limitations imposed by the client or the circumstances; (8) the amount involved and the results
 obtained; (9) the experience, reputation, and ability of the attorneys; (10) the “undesirability” of
 the case; (11) the nature and length of the professional relationship with the client; and (12) awards
 in similar cases.” Carter v. Caleb Brett LLC, 757 F.3d 866, 869 (9th Cir. 2014) (citing Quesada
 v. Thomason, 850 F.2d 537, 539 (9th Cir. 1988)). However, a court “is not required to include a
 fee enhancement to the basic lodestar figure,” Ketchum v. Moses, 24 Cal. 4th 1122, 1138 (2001)


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 of experience practicing law. Wilson billed 18.8 hours at $295 per hour and has been practicing
 law for just a few years. In support of their proffered rates, Plaintiff cites to the Real Rate Report
 and argues that their rates are actually below market for litigation partners in Los Angeles. Mot.
 at 8; Hakimi Decl. ¶¶ 12-17, Exh. 2.
           The Court disagrees and finds that these relatively straightforward ADA actions often
 include boilerplate filings and rarely involve complex legal issues or any difficult factual
 discovery.4 Plaintiff’s counsel appear to involve two partner-level attorneys for tasks that could
 have been performed by paralegals or low level associates at substantially lower rates and reviewed
 by an attorney. This Court elects to join several other courts in the Central District by adopting a
 blended rate of $300 that is more commensurate with the complexity level of these ADA cases.
 See, e.g., Jones v. Islam, No. 20-CV-11038-JLS-JPR, 2021 WL 3472860, at *8 (C.D. Cal. July 7,
 2021) (adopting $300 blended rate); Langer v. Kha Dinh Nguyen, No. 19-CV-00294-JLS-KES,
 2019 WL 7900270, at *6-7 (C.D. Cal. Nov. 27, 2019) ($300 blended rate); Machowski v. JACMAR
 PARTNERS III, No. 21-CV-00135-CJC-JDE, 2021 WL 2980223, at *2 (C.D. Cal. May 27, 2021)
 (same).
           Second, the Court considers whether the claimed number of hours were reasonably
 expended. The Court finds that Plaintiff’s counsel have devoted an unreasonable amount of time
 on several tasks that should have been done more efficiently given Plaintiff’s experience
 prosecuting similar ADA cases. For example, according to the provided billing records, Plaintiff’s
 counsel spent nearly 9 hours before filing the Complaint, which the Court finds excessive
 considering how often Plaintiff’s counsel files nearly identical complaints and the formulaic nature
 of the filings for Shayler which Plaintiff’s counsel has previously represented in scores of ADA
 cases. The Court elects to subtract 5 hours from the 9 hours billed before filing the Complaint.
 The Court also subtracts the 4 hours billed for time spent interacting with Defendant’s tenant
 (Beach Cities Cleaners) and its attorney as it is unclear why Defendant is responsible for those
 fees. See Opp. at 10-11. The Court notes that Plaintiff also billed nearly 17 hours in preparing his
 motion for summary judgment and nearly 7 hours after finding that Defendant was not opposing


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           Most of the accessibility requirements under Title III of the ADA are set forth with a fair degree of precision
 in the Department of Justice’s Standards for Accessible Design and concomitant regulations. See generally Lindsay
 v. Starbucks Corp.815 F. App’x 152, 153-54 (9th Cir. 2020); Kong v. Shirazi-Fard, 807 F. App’x 692 (9th Cir. 2020).
 Hence, in a vast majority of the present type of Title III ADA cases, the principal issue will simply be whether there
 is some aspect of the defendant’s premises which fails to meet one or more of the delineated standards.



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 the motion. It would appear to the Court that, had Plaintiff’s counsel reasonably discussed the
 situation with Defendant’s counsel after the latter’s June 8 communication, a resolution as to the
 liability issue could have been achieved which would have rendered the summary judgment
 unnecessary.5 Thus, the Court questions the amount of time devoted to an unopposed motion for
 summary judgment and, indeed, its necessity.
          Additionally, the Court finds that Plaintiff’s counsel engaged in certain litigation efforts
 that were either simply wrong or highly questionable. For example, even after the Court indicated
 that it was not exercising supplemental jurisdcition over Shayler’s Unruh Act claim, Plaintiff’s
 counsel still included that cause of action in the FAC and attempted to pursue it.6 Further,
 Plaintiff’s counsel filed an ex parte application to enforce a subpoena to inspect the premises which
 was denied as untimely and it was also held that the “application is meritless.” See ECF No. 21.
          Finally, the Court notes that the present request for fees is surprisingly high considering
 the relatively straightforward nature of this matter and awarded fees for comparable actions. The
 Court does not find that this lawsuit involved any complex legal or factual issues, nor did it require
 extraordinary effort or skill on the part of Plaintiff’s counsel. Furthermore, 47.8 hours or nearly
 two-thirds of the recorded fee hours were recorded after June 8, 2021, or after the email from
 Defendant informing Plaintiff that they agreed to resolve the identified issues while minimizing
 expenses. See MSJ Non-Opp., Exh. A. In order to reflect the relatively straightforward and
 repetitive nature of these ADA actions, the fact that Plaintiff’s counsel recorded most of their hours
 after Defendant admitted fault and sought to minimize cost, and the number of litigation efforts of
 counsel which were (as noted above) simply wrong or unnecessary (and which constititute a
 majority of Plaintiff’s counsel’s efforts), the Court applies a downward 65% multiplier to the
 requests for fees. Thus, the final award for attorney’s fees, incorporating the blended rate of $300
 and the 65% downward multiplier, would be $7,896 (75.2 hours x $300 blended rate = $22,560 x
 .35 downward multiplier = $7,896).
          Plaintiff also makes a request for $3,185 in costs. Plaintiff submit that they incurred typical
 costs for filing ($402), process service ($105), an investigator ($240), a Certified Access Specialist

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             In this Court’s experience, it is common for litigants in ADA access cases to resolve the liability and
 injunctive relief issues between themselves and thereafter return to the Court for a ruling on attorney’s fees and costs
 if they cannot reach an agreement on the latter.
          6
            As stated in the motion for summary judgment, Shayler was seeking “statutory damages” under the Unruh
 Act in the amount of $16,000.



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 (“CASp”) inspector ($1230), subpoena service ($120), deposition ($812), and chamber copies
 ($276). The Court rejects the costs for the CASp inspector. Plaintiff has not submitted a
 bill/invoice from the CASp. Further, it is unclear as to the need/necessity for the CASp, especially
 when Plaintiff already had an investigator examining the premises. The remaining costs appear
 reasonable, so the Court would award $1,955 in costs.
 IV.    Conclusion
        Based on the foregoing discussion, Plaintiff’s motion for attorney’s fees and costs is
 GRANTED. The Court awards $9,851 ($7,896 in attorney’s fees and $1,955 in costs).




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